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 4                                 UNITED STATES DISTRICT COURT
 5                                         DISTRICT OF NEVADA
 6                                                    ***
 7      UNITED STATES OF AMERICA,                             Case No. 2:12-CR-175-KJD-VCF
 8                                               Plaintiff,
 9             v.                                                                ORDER
10      DEMARIO EDWARDS,
11                                             Defendant.
12

13

14            Before the Court is Defendant Edwards’ letter received October 3, 2014. The Court cannot

15     and will not consider ex parte communications. If Defendant desires this Court to take any action

16     on his behalf, he must file a motion through his attorney, or if he has no attorney, he must file the

17     motion pro se. This process has the additional benefit of providing the government an opportunity

18     to respond. IT IS SO ORDERED.

19

20     DATED this 7th day of October 2014.

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23
                                                              Kent J. Dawson
24                                                            United States District Judge

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